 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               JJS Transportation & Distribution Co., Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               1
                                              ___ 1
                                                  ___       3 5 7 2 2 4 8
                                                         – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                                  145 Hook Creek Blvd
                                              ______________________________________________
                                                                                                            24 Locust St,
                                                                                                           _______________________________________________
                                              Number     Street                                            Number     Street

                                                  Building B5E
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  Valley Stream, NY 11581
                                              ______________________________________________                Manhasset, NY 11030
                                                                                                           _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Nassau
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      www.jjstransportation.com
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
Debtor         JJS Transportation & Distribution Co., Inc.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             4 8 4 1
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
Debtor           JJS Transportation & Distribution Co., Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
Debtor         JJS Transportation & Distribution Co., Inc.
              _______________________________________________________                          Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                              1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                             5,001-10,000                               50,001-100,000
       creditors
                                          100-199                           10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                  $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                  $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed      04/17/2023
                                                 ted on _________________
                                                        ___
                                                         __________
                                                                  _______
                                                        MM / DD / YYYY


                                         8   _____________________________________________
                                                 ___________________________
                                                                                                         Joseph Sarcona
                                                                                                         _______________________________________________
                                                 ture of authorized representative of debtor
                                            Signature                                                    Printed name

                                                   President
                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
Debtor         JJS Transportation & Distribution Co., Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                        8   _____________________________________________            Date       _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                           _________________________________________________________________________________________________
                                           Printed name

                                           _________________________________________________________________________________________________
                                           Firm name

                                           _________________________________________________________________________________________________
                                           Number     Street

                                           ____________________________________________________            ____________ ______________________________
                                           City                                                            State        ZIP Code

                                           ____________________________________                            __________________________________________
                                           Contact phone                                                   Email address



                                           ______________________________________________________ ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
        Fill in this information to identify the case:

        Debtor name      JJS Transportation       & Distribution Co., Inc.
        United States Bankruptcy Court for the:
                                                   Eastern                     District of    NY
                                                                                             (State)
        Case number (If known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not
    Insiders                                                                           12/15


    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or
    entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
    creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete mailing address,           Name, telephone number, and email        Nature of the claim      Indicate if claim   Amount of unsecured claim
     including zip code                                       address of creditor contact              (for example, trade      is contingent,      If the claim is fully unsecured, fill in only unsecured claim
                                                                                                       debts, bank loans,       unliquidated, or    amount. If claim is partially secured, fill in total claim amount
                                                                                                       professional services,   disputed            and deduction for value of collateral or setoff to calculate
                                                                                                       and                                          unsecured claim.
                                                                                                       government contracts)

                                                                                                                                                    Total claim, if       Deduction for value Unsecured claim
                                                                                                                                                    partially secured     of collateral or
                                                                                                                                                                          setoff

1     Airport Park LLC                                        Brian W. Shaw                            /LWLJDWLRQ        Contingent                                                               $ 2,035,546.60
      143 Old Country Rd                                      Golino Law Group PLLC                    Lease Obligations
      Carle Place, NY 11514                                   (212) 344-9300


2     Interpool/Trac Intermodal                               Lloyd S. Clareman                        /LWLJDWLRQ               Contingent                                                        $    925,000.00
      750 College Road East                                   (212) 751-1585                           (TXLSPHQW
      Princeton, NJ 8540                                                                               &KDUJHV


3     Gabrielli Truck Leasing LLC                             Stefano Gabrielli                        Equipment Lease                                                                            $    759,924.80
      153-20 S. Conduit Avenue                                (718) 977-7348 Ext. 1007
      Jamaica, NY 11434


4     XTRA Lease LLC                                          Joseph J. Trad                           /LWLJDWLRQ               Contingent                                                       $    42,463.79
      Po Box 219562                                           Lewis Rice LLC                           (TXLSPHQW
      Kansas City, MO 64121                                   (314) 444-7691                           &KDUJHV


5     Maersk                                                  Jeffrey Maidenbaum                       /LWLJDWLRQ               Contingent                                                       $    04,000.00
      Arrowpoint Lane                                         Maidenbaum & Associates                  Ocean Container
      Charlotte, NC 28273                                     (516)223-8553                            &KDUJHV


6     JJS Transportation & Distribution Co., Inc.             Joseph Sarcona                           Labor Services                                                                             $    245,000.00
      600 N 2nd StSuite 401                                   (610) 871-3530
      Harrisburg, PA 17101


7     ONE - Ocean Network Express North America               Jireh Llarenas                           Ocean Container          Disputed                                                          $    242,392.00
      Inc.                                                    (804) 430-3705                           Charges
      8730 Stony Point ParkwaySuite 400
      Richmond, VA 23235
8     East Coast Transport                                    Lisa Reeves                              /LWLJDWLRQ               Contingent                                                        $    165,000.00
      23 Mack DriveSuite 102                                  Reeves McEwing LLP                       Drayage Services
      Edison, NJ 8817                                         (267) 324-3773
    Debtor
                  JJS Transportation & Distribution Co., Inc.
    Name                                                                                                       Case number (if known )
      Name of creditor and complete mailing address,   Name, telephone number, and email   Nature of the claim      Indicate if claim    Amount of unsecured claim
      including zip code                               address of creditor contact         (for example, trade      is contingent,       If the claim is fully unsecured, fill in only unsecured claim
                                                                                           debts, bank loans,       unliquidated, or     amount. If claim is partially secured, fill in total claim amount
                                                                                           professional services,   disputed             and deduction for value of collateral or setoff to calculate
                                                                                           and                                           unsecured claim
                                                                                                                                         Total claim, if        Deduction for value Unsecured claim
                                                                                                                                         partially secured      of collateral or
                                                                                                                                                                setoff
9     Zim American Integrated Shipping Services Co., Natasha Nixon                         Ocean Container          Disputed                                                            $   125,065.00
      LLC                                            (877) 509-3514                        Charges
      5801 Lake Wright Drive
      Norfolk, VA 23502
10    Arrow (Aron) Security                            Amos Weinberg                       /LWLJDWLRQ               Contingent                                                          $   108,000.00
      55 Middletown Ave                                (516) 829-3900                      Security Services
      North Haven, CT 6473


11    MSC Mediteranian Shipping Company                (843) 654-6068                      Ocean Container          Disputed                                                            $     94,600.00
      700 Watermark Boulevard                                                              Charges
      Mount Pleasant, SC 29464


12    Penske Truck Leasing                             Dennis M. Rothman                   /LWLJDWLRQ               Contingent                                                          $     91,831.69
      Po Box 827380                                    LESTER SCHWAB KATZ &                (TXLSPHQW Lease
      Philadelphia, PA 19182                           DWYER, LLP
                                                       (212) 341-4343
13    Diesel Direct, Inc                               Josie Amaral                        Fuel                     Contingent                                                          $     80,778.06
      Po Box 135                                       (617) 729-2388                      Charges
      Randolph, MA 2068


14    Flexi-Van Leasing LLC                            1-866-883-5394               Equipmenet                      Disputed                                                            $     72,826.95
      7320 E. Butherus Drive, Suite 201                CustomerSupport@FlexiVan.com Charges
      Scottsdale, AZ 85260


15    Express Chassis LLC                              Michael Darrar                      Equipmenet               Disputed                                                            $     9,661.00
      86 Doremus Avenue                                (201) 852-6524                      Charges
      Newark, NJ 07105


16    COSCO Shipping Lines North America Inc.          Sharon Zeggert                      Ocean Container          Disputed                                                            $     63,855.00
      15600 Jfk BlvdSuite 400                          Metro Group Maritime                Charges
      Houston, TX 77032                                (212) 553-7040


17    Hamburg Sud North America, Inc.                  Eileen Friberger                    Ocean Container          Disputed                                                            $     56,365.00
      4 Chase Metrotech Center                         MetroGroup Maritime                 Charges
      Brooklyn, NY 11245                               (212) 553-7041


18    Fair Trade Outsourcing                           Carol (Yeanling) Kuo                Labor Services                                                                               $     48,160.00
      1 Brennan Drive                                  (314) 398-7360
      Bryn Mawr, PA 19010


19    LHH Recruitment Solutions                        Jean Werts                          Recruitment Fee                                                                              $     47,610.50
      10151 Deerwood Park BlvdBldg. 200-400            (904) 360-2170
      Jacksonville, FL 32256


20                                                     'DYLG$OHMDQGUR%RQLOOD             /LWLJDWLRQ                                                                                   $     8QNQRZQ
       &DURO%UDWKZDLWH                                                                                       &RQWLQJHQW
       (OHIWHUDNLV(OHIWHUDNLV 3DQHN                                        7RUW0RWRU9HKLFOH
       3LQH6WUHHWWK)ORRU
       1HZ<RUN1<
  Fill in this information to identify the case:

  Debtor name    JJS Transportation & Distribution Co., Inc.
                                   Eastern
  United States Bankruptcy Court for the:                 District of NY

  Case number (If known):
                                                                       (State)
                                                                                                                           Check if this is
                                                                                                                              an amended
                                                                                                                              filing



List of Creditors LBR 1007-1(a)
Chapter 11 List of Creditors LBR 1007-1(a)

Rule 1007-1 LIST OF CREDITORS

(a) Creditor List.

In addition to the schedules, a list shall be filed in accordance with Bankruptcy Rule 1007(a)(1) which sets
forth the names of all creditors in alphabetical order (the "Creditor List"). The Creditor List shall also set
forth the mailing address, zip code, and the specific amount of debt, if known, owed to each listed creditor.
The Creditor List shall be provided to the United States trustee and such list shall also include the
telephone number, email address and fax number of each creditor on the Creditor List, if known. The
provider of the Creditor List shall certify that it is accurate.


CERTIFICATION

I, Joseph Sarcona, hereby certify that the attached Creditor List is true, accurate, and complete to the best of my knowledge and belief. I
have prepared this Creditor List in accordance with Local Bankruptcy Rule LBR 1007-1(a), and where available have included the names,
mailing addresses, zip codes, telephone numbers, email addresses, fax numbers (if known), and specific amounts of debt owed to each
creditor listed.


            04/17/2022
Executed on _________________

                 MM / DD / YYYY



________________________
_____________________________________________                   Joseph Sarcona
                                                                _______________________________________________

Signature of authorized representative
                        rep            of debtor               Printed name
                         Creditor                       Total            Phone                     Address1                   Address2            City       State   Zip Code
A1 Professional Cleaning and Maintenance, Inc        $    41,596     (516) 872-4242  176-10 Central Avenue, #10                          Farmingdale          NY       11735
Airport Park LLC                                     $ 2,035,547     (516) 741-8440  143 Old Country Rd                                  Carle Place          NY       11514
Alta Material Handling                               $    15,356     (631) 253-2600  845 South 1St Street                                Ronkonkoma           NY       11779
Arrow (Aron) Security                                $   108,000                     55 Middletown Ave                                   North Haven          CT       06473
Arrow Exterminating Co.                              $     1,424                     287-289 Broadway                                    Lynbrook             NY       11563
Atlantic Container Lines (ACL)                       $    22,540     (888) 225-7747  272 Bendix Road                     Suite 300       Virginia Beach       VA       23452
Certilman Balin Adler & Hyman, LLP                   $    21,861                     90 Merrick Ave                       9th Floor      East Meadow          NY       11554
CMA CGM (America) LLC                                $     5,500                     5701 Lake Wright Drive                              Norfolk              VA       23502
Cogen Waste Solutions LLC                            $     6,143                     860 Humboldt St                                      Brooklyn            NY       11222
Comdata                                              $    41,970                     P. O. Box 500544                                    St Louis             MO       63150
COSCO Shipping Lines North America Inc.              $    63,855                     15600 Jfk Blvd                      Suite 400       Houston              TX       77032
Descartes Systems Group                              $     2,400                     2030 Powers Ferry Rd Se                             Atlanta              GA       30339
Diesel Direct, Inc                                   $    80,778                     Po Box 135                                          Randolph             MA       02068
Direct ChassisLink                                   $    17,434     (704) 594-3800  Po Box 603061                                       Charlotte            NC       28260
DocuSign Inc                                         $     4,897                     P.O. Box 735445                                     Dallas               TX       75373
Durable Diesel Inc                                   $    46,680     (718) 777-1274  448 Tiffany Street                                  Bronx                NY       10474
East Coast Transport                                 $   165,000     (800) 257-7877  23 Mack Drive                       Suite 102       Edison               NJ       08817
East Penn Manufacturing Co Inc                       Unknown         (610) 682-6361  102 Deka Rd                                         Lyons                PA       19536
Evergreen Shipping Agency                            $     6,650                     One Evertrust Plaza                                 Jersey City          NJ       07302
Express Chassis LLC                                  $    69,661     (201) 852-6524  18 Dante Road                                       Monroe Township      NJ       08831
Express Employment Professionals                     $    42,514                     99 Powerhouse Road                  Suite 101       Roslyn Heights       NY       11577
Fair Trade Outsourcing                               $    48,160     (888) 631-0398  1 Brennan Drive                                     Bryn Mawr            PA       19010
Fleetwash                                            $     2,200     (973) 882-8314  P.O. Box 36014                                      Newark               NJ       07188
Flexi-Van Leasing LLC                                $    72,827     (908) 276-8000  7320 E. Butherus Drive, Suite 201                   Scottsdale           AZ       85260
FYX Fleet Roadside Assistance                        $    17,250                     500 Meijer Dr                       #300             Florence            KY       41042
Gabrielli Truck Leasing LLC                          $   759,925     (718) 977-7348  153-20 S. Conduit Avenue                            Jamaica              NY       11434
Hale Trailer Brake & Wheel Inc                       $     4,003     (856) 768-1330  551 Cooper Road                                     West Berlin          NJ       08091
Hamburg Sud North America, Inc.                      $    56,365                     4 Chase Metrotech Center                            Brooklyn             NY       11245
Hapag-Lloyd                                          $    23,230                     5515 Spalding Drive                                 Peachtree Corners    GA       30092
HMM America Inc                                      $    34,150                     222 Las Colinas Blvd West           Suite 700       Irving               TX       75039
Hub Truck Rental Corp                                $    12,525     (631) 391-1071  94 Gazza Blvd                                       Farmingdale          NY       11735
Hyg Financial Services, Inc                          $    41,894     (888) 964-1341  P.O. Box 14545                                      Des Moines            IA      50306
Jamaica Ash & Rubbish Removal                        $    12,122     (516) 333-5740  P.O. Box 833                                        Westbury             NY       11590
JJS Transportation & Distribution Co., Inc.          $   245,000                     600 N 2nd St                        Suite 401       Harrisburg           PA       17101
LHH Recruitment Solutions                            $    47,611                     10151 Deerwood Park Blvd            Bldg. 200-400   Jacksonville         FL       32256
Maersk                                               $   604,000                     Arrowpoint Lane                                     Charlotte            NC       28273
MSC Mediteranian Shipping Company                    $    94,600                     700 Watermark Boulevard                             Mount Pleasant       SC       29464
National Grid                                        $     3,525                     300 Erie Blvd, West                                 Syracuse             NY       13202
New York State Workers' Compensation Board           $    40,000                     328 State Street                                    Schenectady, Ny      NY       12305
ONE - Ocean Network Express North America Inc.       $   242,392   8444136029Option3 8730 Stony Point Parkway            Suite 400       Richmond             VA       23235
Paraco Gas Corporation                               $     2,898     (914) 459-1102  10 Edison Ave.                                      Mount Vernon         NJ       10550
Penske Truck Leasing                                 $    91,832     (718) 995-5100  Po Box 827380                                       Philadelphia         PA       19182
Premier Trailer Leasing                              $     5,424     (973) 484-0600  Po Box 644859                                       Pittsburgh           PA       15264
Pridestaff                                           $    22,007                     PO Box 205287                                       Dallas               TX       76320
Proscreening                                         $     9,987                     P.O. Box 208967                                     Dallas               TX       75320
PSEG Long Island                                     $     4,784     (516) 931-6355  175 E Old Country Rd                                Hicksville           NY       11801
Randstand                                            $     2,832                     P.O. Box 7247-6655                                  Philadelphia         PA       19170
RLI Insurance Company                                $    35,000     (404) 315-9515  Department 3340                     Po Box 844122   Kansas City          MO       64184
Roadrunner Towing & Truck Service LLC                $    26,624     (201) 538-0420  23 2Nd Street                                       Kearny               NJ       07032
Sarcona Management Inc                               Unknown         (973) 466-0026  10 North Ave E                                      Elizabeth            NJ       07201
Sarcona Solutions LLC                                Unknown         (973) 466-3033  481 Doremus Ave                                     Newark               NJ       07105
Service Tire Truck Center Inc                        $    23,198     (610) 694-8473  2255 Avenue A                                       Bethlehem            PA       18107
Solomon Page                                         $    38,581                     260 Madison Avenue                  4F              New York             NY       10016
Spectrum                                             $     1,680                     P.O. Box 60588                                      Los Angeles          CA       90060
TRAC Intermodal                                      $   925,000     (609) 452-8900  750 College Road East                               Princeton            NJ       08540
Verizon Connect                                      $    36,000     (949) 389-5500  20 Enterprise                       Suite 100       Aliso Viejo          CA       92656
Vital Transportation Corp.                           $    18,352     (732) 515-9361  Vital Transportation Corp.          Po Box 693      Edison               NJ       08818
XTRA Lease LLC                                       $   742,464                     Po Box 219562                                       Kansas City          MO       64121
Yang Ming (America) Corp.                            $    21,330                     3250 Briarpark Drive                Suite 201       Houston              TX       77042
Zim American Integrated Shipping Services Co., LLC   $   125,065     (757) 228-1300  5801 Lake Wright Drive                              Norfolk              VA       23502
                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NEW YORK


----------------------------------------------------x
In Re:                                                                       Case No. n/a
JJS Transportation & Distribution Co., Inc.
                                                                             Chapter 11
24 Locust St.
Manhasset, NY 11030


                              Debtor(s)
----------------------------------------------------x



     VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS



               The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.




Dated: Central Islip, New York
       April 17, 2023


                                                        ____________________________________
                                                        Debtor


                                                        ____________________________________
                                                        Joint Debtor


                                                        s/
                                                        ____________________________________
                                                        Attorney for Debtor




USBC-44                                                                                     Rev. 11/15
A1 Professional Cleaning and Maintenance Inc
17610 Central Avenue 10
Farmingdale NY 11735

Airport Park LLC
143 Old Country Rd
Carle Place NY 11514

Alta Material Handling
845 South 1St Street
Ronkonkoma NY 11779

Arrow Aron Security
55 Middletown Ave
North Haven CT 6473

Atlantic Container Lines ACL
272 Bendix Road Suite 300
Virginia Beach VA 23452

Carol Brathwaite Elefterakis Elefterakis & Panek
80 Pine Street 38th Floor 38th Floor
New York NY 10005

Certilman Balin Adler & Hyman LLP
90 Merrick Ave 9th Floor
East Meadow NY 11554

CMA CGM America LLC
5701 Lake Wright Drive
Norfolk VA 23502

Cogen Waste Solutions LLC
Brooklyn NY 11222

Comdata
P. O. Box 500544
St Louis MO 63150

COSCO Shipping Lines North America Inc.
15600 Jfk Blvd Suite 400
Houston TX 77032

Descartes Systems Group
2030 Powers Ferry Rd Se
Atlanta GA 30339
Diesel Direct Inc
Po Box 135
Randolph MA 2068

Direct ChassisLink
Po Box 603061
Charlotte NC 28260

DocuSign Inc
P.O. Box 735445
Dallas TX 75373

Durable Diesel Inc
448 Tiffany Street
Bronx NY 10474

East Coast Transport
23 Mack Drive Suite 102
Edison NJ 8817

East Penn Manufacturing Co Inc
Lyons PA 19536

Evergreen Shipping Agency
One Evertrust Plaza
Jersey City NJ 7302

Express Chassis LLC
18 Dante Road
Monroe Township NJ 8831

Express Employment Professionals
99 Powerhouse Road Suite 101
Roslyn Heights NY 11577

Fair Trade Outsourcing
1 Brennan Drive
Bryn Mawr PA 19010

Fleetwash
P.O. Box 36014
Newark NJ 7188

FlexiVan Leasing LLC
7320 E. Butherus Drive Suite 201
Scottsdale AZ 85260
FYX Fleet Roadside Assistance
500 Meijer Dr 300
Florence KY 41042

Gabrielli Truck Leasing LLC
15320 S. Conduit Avenue
Jamaica NY 11434

Hale Trailer Brake & Wheel Inc
551 Cooper Road
West Berlin NJ 8091

Hamburg Sud North America Inc.
4 Chase Metrotech Center
Brooklyn NY 11245

HapagLloyd
5515 Spalding Drive
Peachtree Corners GA 30092

HMM America Inc
222 Las Colinas Blvd West    Suite 700
Irving TX 75039

Hub Truck Rental Corp
94 Gazza Blvd
Farmingdale NY 11735

HYG Financial Services Inc
P.O. Box 14545
Des Moines IA 50306

Jamaica Ash & Rubbish Removal
P.O. Box 833
Westbury NY 11590

JJS Transportation & Distribution Co. Inc.
600 N 2nd St Suite 401
Harrisburg PA 17101

LHH Recruitment Solutions
10151 Deerwood Park Blvd Bldg. 200400
Jacksonville FL 32256

Maersk
Arrowpoint Lane
Charlotte NC 28273
MSC Mediterranean Shipping Company
700 Watermark Boulevard
Mount Pleasant SC 29464

National Grid
300 Erie Blvd West
Syracuse NY 13202

New York State Insurance Fund
199 Church St
Schenectady NY 12305

New York State Workers Compensation Board
328 State Street
Schenectady NY 12305

ONE Ocean Network Express North America Inc.
8730 Stony Point Parkway Suite 400
Richmond VA 23235

Paraco Gas Corporation
10 Edison Ave.
Mount Vernon NJ 10550

Penske Truck Leasing
Po Box 827380
Philadelphia PA 19182

Premier Trailer Leasing
Po Box 644859
Pittsburgh PA 15264

Pridestaff
PO Box 205287
Dallas TX 76320

Proscreening
P.O. Box 208967
Dallas TX 75320

PSEG Long Island
175 E Old Country Rd
Hicksville NY 11801

Randstand
P.O. Box 72476655
Philadelphia PA 19170

RLI Insurance Company
Department 3340 Po Box 844122
Kansas City MO 64184

Roadrunner Towing & Truck Service LLC
23 2Nd Street
Kearny NJ 7032

Sarcona Management Inc
Elizabeth NJ 7201

Sarcona Solutions LLC
Newark NJ 7105

Service Tire Truck Center Inc
2255 Avenue A
Bethlehem PA 18107

Solomon Page
260 Madison Avenue 4F
New York NY 10016

Spectrum
P.O. Box 60588
Los Angeles CA 90060

TRAC Intermodal
750 College Road East
Princeton NJ 8540

Verizon Connect
20 Enterprise Suite 100
Aliso Viejo CA 92656

Vital Transportation Corp.
Vital Transportation Corp. Po Box 693
Edison NJ 8818

XTRA Lease LLC
Po Box 219562
Kansas City MO 64121

Yang Ming America Corp.
3250 Briarpark Drive Suite 201
Houston TX 77042
Zim American Integrated Shipping Services Co. LLC
5801 Lake Wright Drive
Norfolk VA 23502
                                            UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF NEW YORK
                                                               www.nyeb.uscourts.gov


                                                 STATEMENT PURSUANT TO LOCAL
                                                   BANKRUPTCY RULE 1073-2(b)

DEBTOR(S):______________________________________________________
          JJS Transportation & Distribution Co., Inc.            CASE NO.:______________________

        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “RelDWHG Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

✔
     NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
     THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:


1.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

x    SCHEDULE A/B: PROPERTYOFFICIAL FORM 106$% INDIVIDUAL”PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

x    SCHEDULE A/B: ASSETS – REAL PROPERTY OFFICIAL FORM 206$% NON-INDIVIDUAL” PART 9 (REAL
     PROPERTY):REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN
     SCHEDULE “A/B” OFRELATED CASES:
     ________________________________________________________________________________________________
2.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

x    SCHEDULE A/B: PROPERTY OFFICIAL FORM 106$% INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

x    SCHEDULE A/B: ASSETS – REAL PROPERTY OFFICIAL FORM 206$% NON-INDIVIDUAL” PART 9 (REALPROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED INSCHEDULE “A/B” OF
     RELATED CASES:_____________________________________________________________BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                                            1
                                                                    [OVER]

     DISCLOSURE OF RELATED CASES (cont’d)

3.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

x    SCHEDULE A/B: PROPERTY OFFICIAL FORM 106$% INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

x    SCHEDULE A/B: ASSETS – REAL PROPERTY OFFICIAL FORM 206$% NON-INDIVIDUAL” PART 9 (REAL
     PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN
     SCHEDULE “A/B” OF RELATED CASES:
     ________________________________________________________________________________________________
     NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
     be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


     TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

     I am admitted to practice in the Eastern District of New York (Y/N): __________

     CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

     I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as
     indicated elsewhere on this form.



     __________________________________________                                       ______________________________________________
                                                                                              _____________________
     Signature of Debtor’s Attorney                                                   Signaturee of Pro-se Debtor/Petitioner
                                                                                                           Debtor/Petiti

                                                                                      ______________________________________________
                                                                                      24 Locust St.
                                                                                      Mailing Address of Debtor/Petitioner
                                                                                      Manhasset, NY 11030
                                                                                      ______________________________________________
                                                                                      City, State, Zip Code

                                                                                      ap@jjstransportation.com
                                                                                      ______________________________________________
                                                                                      Email Address
                                                                                      516-256-1561
                                                                                      ______________________________________________
                                                                                      Area Code and Telephone Number




     Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
     other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
     the dismissal of the case with prejudice.

     NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
     result.


                                                                      2
                                               JJS
                            JJS Transportation & Distribution Co., Inc.
                                     24 Locust St., Manhasset, NY 11030
                                 info@jjstransportation.com | +1-516-256-1561
                                           www.jjstransportation.com




Title: Resolution to Authorize Filing for Bankruptcy under Chapter 11, Subchapter V
State: New York


WHEREAS, the Board of Directors of JJS Transportation & Distribution Co., Inc. (the
"Company") has carefully reviewed and considered the current financial situation and prospects
of the Company;
WHEREAS, the Board has determined that the Company is facing financial difficulties that may
adversely affect its ability to continue operations and meet its obligations to creditors;
WHEREAS, the Board has concluded that it is in the best interest of the Company and its creditors
to seek financial reorganization through the filing of a voluntary petition for bankruptcy under
Chapter 11, Subchapter V of the United States Bankruptcy Code;


NOW, THEREFORE, BE IT RESOLVED that:
The Company is hereby authorized to prepare and file a voluntary petition for relief under Chapter
11, Subchapter V of the United States Bankruptcy Code in the appropriate United States
Bankruptcy Court.
The President, or any other authorized officer of the Company, is hereby authorized and directed
to execute and file the voluntary petition for bankruptcy on behalf of the Company, and to take all
necessary actions and steps required or appropriate to initiate and complete the bankruptcy process,
including retaining legal counsel and other professionals, as deemed necessary.
This resolution has been duly adopted by the Board of Directors and has been consented to by all
members of the Board.


IN WITNESS WHEREOF, the undersigned has executed this Corporate Resolution as of April 18,
2023.




Joseph Sarcona III, President                                                   Joseph Sarcona III, Secretary
                                                  JJS
                              JJS Transportation & Distribution Co., Inc.
                                       24 Locust St., Manhasset, NY 11030
                                   info@jjstransportation.com | +1-516-256-1561
                                             www.jjstransportation.com


                                                                                                  April 1 , 2023



Re: Statement on Filing Financial Statements for Bankruptcy under Chapter 11, Subchapter V


This is to confirm at the time filing the updated Balance Sheet, Statement of Operations, Cash-

flow Statement, and Federal Income Tax Returns are still under preparation and will be submitted

post-initial filing, but no later than 14 days.




                                                                                  Joseph Sarcona III, President
